                        Case 5:24-cv-06832-EJD          Document 13      Filed 10/25/24    Page 1 of 32



                    1   COOLEY LLP                                  COOLEY LLP
                        JEFFREY M. GUTKIN (216083)                  JORGE L. SARMIENTO (Pro Hac Vice Pending)
                    2   (jgutkin@cooley.com)                        (jsarmiento@cooley.com)
                        AARTI REDDY (274889)                        55 Hudson Yards
                    3   (areddy@cooley.com)                         New York, NY 10001-2157
                        AMY M. SMITH (287813)                       Telephone:   +1 212 479 6000
                    4   (amsmith@cooley.com)                        Facsimile:   +1 212 479 6275
                        MORGAN LEWIS (322205)
                    5   (melewis@cooley.com)
                        JULIA M. IRWIN (352861)
                    6   (jirwin@cooley.com)
                        3 Embarcadero Center, 20th Floor
                    7   San Francisco, California 94111-4004
                        Telephone:     +1 415 693 2000
                    8   Facsimile:     +1 415 693 2222
                        Attorneys for Defendant
                    9   LinkedIn Corporation

                   10
                                                     UNITED STATES DISTRICT COURT
                   11
                                                   NORTHERN DISTRICT OF CALIFORNIA
                   12
                                                              SAN JOSE DIVISION
                   13

                   14
                        L.B. individually and on behalf of all others     Case No. 5:24-cv-06832-EJD
                   15   similarly situated,
                                                                          DEFENDANT LINKEDIN CORPORATION’S
                   16   Plaintiff,                                        MOTION TO DISMISS PLAINTIFF’S
                                                                          COMPLAINT
                   17   v.
                                                                          Date:       January 9, 2025
                   18   LINKEDIN CORPORATION,                             Time:       9:00 a.m.
                                                                          Dept:       Courtroom 4, 5th Fl.
                   19   Defendant.                                        Judge:      Edward J. Davila
                                                                          Trial Date: TBD
                   20                                                     Date Action Filed: August 20, 2024

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                   DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
                                                                                         COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD                    Document 13                 Filed 10/25/24            Page 2 of 32



                    1                                                  TABLE OF CONTENTS

                    2                                                                                                                                   Page

                    3   I.     INTRODUCTION .............................................................................................................. 1
                    4   II.    BACKGROUND ................................................................................................................ 3
                               A.   The Parties ............................................................................................................... 3
                    5
                               B.   LinkedIn’s Insight Tag ............................................................................................ 3
                    6          C.   ReflexMD’s Use of LinkedIn’s Insight Tag ........................................................... 4
                    7   III.   ARGUMENT ...................................................................................................................... 4
                               A.   Plaintiff Fails to State a Claim Under CIPA § 631 ................................................. 4
                    8
                                    1.      LinkedIn Is Not Liable Under CIPA Because It Was a Party to the
                    9                       Alleged Communications, Not a Third-Party Eavesdropper. ..................... 5
                                    2.      Plaintiff’s Clause-One Claim Fails for Additional Reasons. .................... 10
                   10
                                    3.      Plaintiff’s Claim Under CIPA’s Second Clause Has Additional
                   11                       Defects....................................................................................................... 10
                                    4.      Plaintiff’s Claims Under CIPA’s Third Clause Have Further Flaws. ....... 13
                   12
                               B.   Plaintiff Fails to State a Claim Under CIPA § 632 ............................................... 14
                   13          C.   Plaintiff’s Section 631 and 632 Claims Also Fail Because She Has Not
                                    Alleged Interception of “Content.” ....................................................................... 16
                   14
                               D.   Plaintiff Fails to State a Claim for Invasion of Privacy Under the California
                   15               Constitution. .......................................................................................................... 17
                                    1.      Plaintiff Fails to Allege Any Protected Privacy Interest. .......................... 18
                   16
                                            a.        Plaintiff’s Generalized Allegations That Consumers’
                   17                                 Information Is Shared with LinkedIn Do Not State a Claim. ....... 18
                                            b.        Plaintiff Fails to Allege an Informational Privacy Interest. .......... 19
                   18
                                            c.        Plaintiff Fails to Allege an Autonomy Privacy Interest. ............... 20
                   19               2.      Plaintiff Fails to Allege a Reasonable Expectation of Privacy in Her
                                            Online Commercial Activity. .................................................................... 21
                   20
                                    3.      The Routine Commercial Behavior Alleged Is Not Highly
                   21                       Offensive as a Matter of Law. ................................................................... 22
                        IV.    CONCLUSION ................................................................................................................. 25
                   22

                   23

                   24

                   25

                   26

                   27

                   28
 FIRM NAME
ATTORNEYS AT LAW
                                                                                                            DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 OFFICE ADDRESS                                                                           i                       COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD                      Document 13                  Filed 10/25/24          Page 3 of 32



                    1                                                  TABLE OF AUTHORITIES
                    2                                                                                                                                  Page(s)
                    3   Cases
                    4
                        A.S. v. SelectQuote Ins. Servs.,
                    5       2024 WL 3881850 (S.D. Cal. Aug. 19, 2024) ........................................................................ 15

                    6   Bell Atlantic Corp. v. Twombly,
                            550 U.S. 544 (2007) .......................................................................................................... 11, 12
                    7
                        Byars v. Hot Topic, Inc.,
                    8      656 F. Supp. 3d 1051 (C.D. Cal . 2023).................................................................................... 6
                    9   Cabral v. Supple, LLC,
                   10      2012 WL 12895825 (C.D. Cal. Oct. 3, 2012) ........................................................................ 19

                   11   Cal. Teachers Ass’n v. Governing Bd. of Rialto Unified Sch. Dist.,
                           14 Cal.4th 627 (1997) ............................................................................................................. 15
                   12
                        Campbell v. Allied Van Lines Inc.,
                   13     410 F.3d 618 (9th Cir. 2005)................................................................................................... 17
                   14   Campbell v. Facebook Inc.,
                   15     77 F. Supp. 3d 836 (2014)....................................................................................................... 16

                   16   In re Carrier IQ, Inc.,
                            78 F. Supp. 3d 1051 (N.D. Cal. 2015) .................................................................................... 16
                   17
                        Cody v. Ring LLC,
                   18      718 F. Supp. 3d 993 (N.D. Cal. Feb. 22, 2024) .................................................................. 9, 12
                   19   Comm. to Def. Reprod. Rights v. Myers,
                          625 P.2d 779 (Cal. 1981) ........................................................................................................ 20
                   20

                   21   Cousin v. Sharp Healthcare,
                           681 F. Supp. 3d 1117 (S.D. Cal. 2023) ................................................................................... 23
                   22
                        D’Angelo v. FCA US, LLC,
                   23      2024 WL 1625771 (S.D. Cal. Mar. 28, 2024) .................................................................. 21, 23
                   24   D’Angelo v. Penny OpCo, LLC,
                           2023 WL 7006793 (S.D. Cal. Oct. 24, 2023) ......................................................................... 22
                   25
                        Doe I v. Google LLC,
                   26
                           2024 WL 3490744 (N.D. Cal. July 22, 2024) .................................................................. passim
                   27
                        Doe v. Beard,
                   28      63 F. Supp. 3d 1159 (C.D. Cal. 2014)..................................................................................... 24
COOLEY LLP
ATTORNEYS AT LAW
                                                                                                              DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                                              ii                      COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD                       Document 13               Filed 10/25/24             Page 4 of 32



                    1   Doe v. Meta Platforms, Inc.,
                           690 F. Supp. 3d 1064 (N.D. Cal. 2023) .................................................................................. 16
                    2
                        Doe v. Microsoft Corp.,
                    3
                           2023 WL 8780879 (W.D. Wash. Dec. 19, 2023) .................................................................... 15
                    4
                        Esparza v. Gen Digital Inc.,
                    5      2024 WL 655986 (C.D. Cal. Jan. 16, 2024) ........................................................................... 12

                    6   In re Facebook, Inc. Internet Tracking Litig.,
                            956 F.3d 589 (9th Cir. 2020)..................................................................................................... 6
                    7
                        Fogelstrom v. Lamps Plus, Inc.,
                    8      195 Cal. App. 4th 986 (2011)............................................................................................. 24-25
                    9
                        Goodman v. HTC America, Inc.,
                   10      2012 WL 2412070 (W.D. Wash. June 26, 2012) .................................................................... 25

                   11   In re Google Assistant Privacy Lit.,
                            457 F. Supp. 3d 797 (N.D. Cal. 2020) .................................................................................... 13
                   12
                        In re Google Location Hist. Litig.,
                   13       428 F. Supp. 3d 185 (N.D. Cal. 2019) ........................................................................ 15, 16, 21
                   14
                        In re Google Location History Litig.
                   15       514 F. Supp. 3d 1147 (N.D. Cal. 2021) .................................................................................. 26

                   16   Hammerling v. Google LLC,
                          2022 WL 17365255 (N.D. Cal. Dec. 1, 2022) ............................................................ 18, 23, 24
                   17
                        Hammerling v. Google LLC,
                   18     615 F. Supp. 3d 1069 (N.D. Cal. 2022) .................................................................................. 21
                   19   Heiting v. Athenahealth, Inc.,
                   20      2024 WL 3761294 (C.D. Cal. July 29, 2024) ........................................................................... 8

                   21   Heiting v. Taro Pharm s. USA, Inc.,
                           2023 WL 9319049 (C.D. Cal. Dec. 26, 2023) ........................................................................ 13
                   22
                        Hill v. Nat’l Collegiate Athletic Ass’n,
                   23       7 Cal. 4th 1 (1994) ........................................................................................................... passim
                   24   In re iPhone Application Litig.,
                            844 F. Supp. 2d 1040 (N.D. Cal. 2012) .................................................................................. 23
                   25

                   26   Jackson v. LinkedIn Corp.,
                           2024 WL 3823806 (N. D. Cal. Aug. 13, 2024)......................................................................... 9
                   27
                        Javier v. Assurance IQ, LLC,
                   28      649 F. Supp. 3d 891 (N.D. Cal. 2023) .................................................................................. 8, 9
COOLEY LLP
ATTORNEYS AT LAW
                                                                                                              DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                                              iii                     COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD                      Document 13                 Filed 10/25/24           Page 5 of 32



                    1   Joffe v. Google, Inc.,
                            746 F.3d 920 (9th Cir. 2013)..................................................................................................... 5
                    2
                        Johnson v. Blue Nile, Inc.,
                    3
                           2021 WL 1312771 (N.D. Cal. Apr. 8, 2021) ............................................................................ 6
                    4
                        Jones v. Peloton Interactive, Inc.,
                    5      2024 WL 1123237 (S.D. Cal. Mar. 12, 2024) .................................................................... 6, 18

                    6   Jones v. Peloton Interactive, Inc.,
                           2024 WL 3315989 (S.D. Cal. July 5, 2024) ............................................................................. 9
                    7
                        Licea v. Am. Eagle Outfitters, Inc.,
                    8       659 F. Supp. 3d 1072 (C.D. Cal. 2023)..................................................................................... 6
                    9
                        Love v. Ladder Fin., Inc.,
                   10      2024 WL 2104497 (N.D. Cal. May 8, 2024) .................................................................. 6, 7, 11

                   11   Low v. LinkedIn Corp.,
                           900 F. Supp. 2d 1010 (N.D. Cal. 2012) ............................................................................ 17, 23
                   12
                        Martin v. Sephora USA, Inc.,
                   13     2023 WL 2717636 (E.D. Cal. Mar. 30, 2023) .......................................................................... 6
                   14
                        Mastel v. Miniclip SA,
                   15     549 F. Supp. 3d 1129 (E.D. Cal. 2021) ............................................................................. 11, 13

                   16   In re Meta Healthcare Pixel Litig.,
                            713 F. Supp. 3d 650 (N.D. Cal. 2024) .................................................................................... 23
                   17
                        Moreno v. San Francisco Bay Area Rapid Transit Dist.,
                   18     2017 WL 6387764 (N.D. Cal. Dec. 14, 2017) ........................................................................ 15
                   19   Ojeda v. Kaiser Permanente Int’l, Inc.,
                   20      2022 WL 18228249 (C.D. Cal. Nov. 29, 2022) ................................................................ 23, 24

                   21   People v. Superior Court (Smith),
                           70 Cal. 2d 123 (1969) ............................................................................................................. 14
                   22
                        Pettus v. Cole,
                   23       49 Cal. App. 4th 402 (1996).................................................................................................... 20
                   24   Ramos v. The Gap Inc.,
                           2024 WL 4351868 (N.D. Cal. Sept. 30, 2024) ....................................................................... 10
                   25

                   26   Revitch v. New Moosejaw, Inc.,
                           2019 WL 5485330 (N.D. Cal. Oct. 23, 2019) ......................................................................... 16
                   27
                        Ribas v. Clark,
                   28      38 Cal. 3d 355 (1985) ............................................................................................................. 11
COOLEY LLP
ATTORNEYS AT LAW
                                                                                                              DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                                             iv                       COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD                     Document 13                Filed 10/25/24           Page 6 of 32



                    1   Rodriguez v. Google LLC,
                           2022 WL 214552 (N.D. Cal. Jan. 25, 2022) ........................................................................... 12
                    2
                        Saeedy v. Microsoft Corp.,
                    3
                           2023 WL 8828852 (W.D. Wash. Dec. 21, 2023) .................................................................... 22
                    4
                        Saleh v. Nike, Inc.,
                    5       562 F. Supp. 3d 503 (C.D. Cal. 2021)..................................................................................... 21

                    6   Smith v. Fresno Irrigation Dist.,
                           84 Cal. Rptr. 2d 775 (1999) .................................................................................................... 20
                    7
                        St. Aubin v. Carbon Health,
                    8       2024 WL 4369675 (N.D. Cal. Oct. 1, 2024) ..................................................................... 10, 19
                    9
                        Swarts v. Home Depot, Inc.,
                   10      689 F. Supp. 3d 732 (N.D. Cal. 2023) ............................................................................. passim

                   11   Thomas v. Papa Johns Int’l, Inc.,
                           2024 WL 2060140 (S.D. Cal. May 8, 2024) ........................................................................... 21
                   12
                        United States v. Carr,
                   13      513 F.3d 1164 (9th Cir. 2008)................................................................................................... 5
                   14
                        Valenzuela v. Super Bright LEDs Inc.,
                   15      2023 WL 8424472 (C.D. Cal. Nov. 27, 2023) .......................................................................... 8

                   16   Vartanian v. VW Credit, Inc.,
                           2012 WL 12326334 (C.D. Cal. Feb. 22, 2012) ....................................................................... 14
                   17
                        Vita v. New England Baptist Hospital,
                   18       2024 WL 4558621, . (Mass. October 24, 2024)...................................................................... 17
                   19   In re Vizio Inc. Consumer Priv. Litig.,
                   20       238 F. Supp. 3d 1204 (C.D. Cal. 2017)................................................................................... 12

                   21   Warden v. Kahn,
                          99 Cal. App. 3d 805 (1979)....................................................................................................... 6
                   22
                        Westron v. Zoom Video Comm’ns,
                   23      2023 WL 3149262 (N.D. Cal. Feb. 15, 2023)......................................................................... 18
                   24   Williams v. What If Holdings, LLC,
                           2022 WL 17869275 (N.D. Cal. Dec. 22, 2022) ................................................................ 5, 6, 7
                   25

                   26   In re Yahoo Mail Litig.,
                            7 F. Supp. 3d 1016 (N.D. Cal. 2014) ................................................................................ 21, 23
                   27
                        Yale v. Clicktale, Inc.,
                   28      2021 WL 1428400 (N.D. Cal. April 15, 2021) ......................................................................... 6
COOLEY LLP
ATTORNEYS AT LAW
                                                                                                            DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                                            v                       COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD                          Document 13                  Filed 10/25/24             Page 7 of 32



                    1   Yockey v. Salesforce, Inc.,
                           2024 WL 3875785 (N.D. Cal. Aug. 16, 2024).................................................................... 9, 16
                    2
                        Yockey v. Salesforce, Inc.,
                    3
                           688 F. Supp. 3d 962 (N.D. Cal. 2023) ...................................................................................... 8
                    4
                        Statutes
                    5
                        Cal. Penal Code
                    6      § 631 ................................................................................................................................. passim
                           § 632 ................................................................................................................................. passim
                    7      § 637.7 ..................................................................................................................................... 15
                    8   Other Authorities
                    9
                        California Constitution, Art. I, Sec. 1 ........................................................................................... 17
                   10
                        Federal Rules of Procedure 12(b)(6) ........................................................................................... 1, 4
                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                                                    DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                                                  vi                        COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD           Document 13           Filed 10/25/24    Page 8 of 32



                    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                    2          PLEASE TAKE NOTICE THAT on January 9, 2025 at 9 a.m. in Courtroom 4 of the above-

                    3   captioned Court, Defendant LinkedIn Corporation (“LinkedIn”) will and hereby does move this

                    4   Court, pursuant to Federal Rules of Procedure 12(b)(6) for an order dismissing Plaintiff L.B.’s

                    5   (“Plaintiff”) Complaint with prejudice. The Motion is based upon the below Memorandum and

                    6   Points and Authorities; all papers on file; the Request for Judicial Notice and supporting declaration

                    7   of Aarti Reddy (“Reddy Declaration”) and such further argument that the Court may consider.

                    8                                          ISSUES TO BE DECIDED

                    9          Whether the Court should dismiss Plaintiff’s California Invasion of Privacy (“CIPA”) § 631

                   10   and § 632 and California constitutional claims in the Complaint (“Complaint”) because she has

                   11   failed to state a claim under Rule 12(b)(6).

                   12   I.     INTRODUCTION
                   13          This lawsuit represents yet another attempt by the plaintiffs’ bar to attack routine website

                   14   analytics tools as a criminal wiretap. Plaintiff L.B. claims that, when she and class members visited

                   15   certain webpages on ReflexMD’s website to browse for information about a weight loss drug,

                   16   information about their interactions with that website was transmitted to LinkedIn. LinkedIn offers

                   17   its advertisers the option to install a web pixel or “Insight Tag” (in LinkedIn’s parlance) to aid their

                   18   advertising efforts. According to Plaintiff, because ReflexMD allegedly installed the Insight Tag

                   19   on certain webpages, LinkedIn should be held liable under California’s Invasion of Privacy Act

                   20   (“CIPA”) and for invasion of privacy under the California Constitution. Plaintiff’s claims are

                   21   meritless and the Court should dismiss this Complaint with prejudice.

                   22          Section 631. Plaintiff’s claim under Section 631 fails for multiple, independent reasons.

                   23   Plaintiff alleges that LinkedIn violated the first three clauses of the statute, because LinkedIn

                   24   “intentionally taps, or makes any unauthorized connection . . . with any telegraph or telephone wire,

                   25   line, cable or instrument,” (clause one), willfully intercepted Plaintiff’s communications with

                   26   ReflexMD and read, attempted to read, or learned their contents (clause two) and used their contents

                   27   (clause three). See Cal. Penal Code § 631. First, nothing in Plaintiff’s pleading alleges that

                   28   LinkedIn acted as anything more than a vendor of an advertising tool that received information for
COOLEY LLP
ATTORNEYS AT LAW
                                                                                         DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                             1                   COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD           Document 13          Filed 10/25/24    Page 9 of 32



                    1   ReflexMD’s benefit. Accordingly, LinkedIn is a party to the communication that has no liability.

                    2   Second, Plaintiff’s CIPA clause-one claim also fails because, as courts have uniformly held, such

                    3   a claim is not cognizable as to internet communications. Third, Plaintiff also failed to make any

                    4   factually supported allegation or, in some cases any allegation at all, regarding several elements of

                    5   her clause-two claim. Plaintiff did not sufficiently allege that LinkedIn read or attempted to read

                    6   these alleged ReflexMD communications, that it intercepted them “in transit,” or that LinkedIn

                    7   acted willfully. Lastly, Plaintiff’s CIPA clause-three claim also fails because it rests on the flawed

                    8   clause-one and clause-two claims and Plaintiff’s allegations of “use” are conclusory and premised

                    9   on generalities about LinkedIn’s business. The Court should dismiss this claim with prejudice.

                   10          Section 632. Plaintiff’s claim under Section 632 of CIPA fares no better. To survive

                   11   dismissal, Plaintiff must allege that LinkedIn intentionally recorded a “confidential”

                   12   communication by means of an “amplifying or recording device.” See Cal. Penal Code § 632.

                   13   Nothing in her pleading plausibly avers that LinkedIn acted with the requisite intent—indeed, her

                   14   allegations regarding LinkedIn’s state of mind merely parrot CIPA’s statutory language. Further,

                   15   as many courts have held, software code like the Insight Tag does not qualify as a “device” under

                   16   the statute.   Plaintiff also does not plausibly allege that her alleged communications were

                   17   “confidential.” It is well settled that internet communications are presumptively not confidential,

                   18   and nothing in Plaintiff’s pleading rebuts that presumption.

                   19          Finally, neither of Plaintiff’s CIPA claims can survive dismissal because she does not

                   20   plausibly allege that the underlying data purportedly transmitted to LinkedIn via the Insight Tag

                   21   qualifies as a “communication” under statute.

                   22          Invasion of Privacy. Plaintiff does not adequately plead a violation of California’s

                   23   constitutional right to privacy. The claim fails both because it is premised on her defective

                   24   wiretapping claim, and because it relies on generalities regarding unspecified “consumers’”

                   25   purported information. Although Plaintiff alleges that she purchased a weight loss drug from

                   26   ReflexMD, a close review of her pleading reveals that the allegations regarding interception of

                   27   Plaintiff’s own information are sparse and vague. The complaint also contradicts any claim that

                   28   Plaintiff had a reasonable expectation of privacy in information that she voluntarily input on
COOLEY LLP
ATTORNEYS AT LAW
                                                                                       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                            2                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD           Document 13        Filed 10/25/24       Page 10 of 32



                    1   ReflexMD’s website after being fully apprised that LinkedIn may receive information about her

                    2   interactions with other websites. Setting aside all of these defects, Plaintiff’s boilerplate pleading,

                    3   even as to the information shared from other supposed “consumers,” does not clear the high bar for

                    4   alleging a “highly offensive” intrusion sufficient to support a constitutional claim.

                    5          For all of these reasons, the Complaint should be dismissed with prejudice.

                    6   II.    BACKGROUND
                    7          A.      The Parties
                    8          LinkedIn is a Delaware corporation headquartered in Sunnyvale, California. The company

                    9   has created “the world’s largest professional network on the internet,” which provides a valuable

                   10   “tool to help users find jobs or expand their professional network.” (Compl. ¶ 14.)

                   11          Plaintiff L.B. alleges she resides in Florida and claims to have “maintained a LinkedIn

                   12   account at all relevant times.” (Id. ¶ 5.) Plaintiff alleges that when she “created her LinkedIn

                   13   account she agreed to LinkedIn’s User Agreement,” (Id. ¶ 5.), and that “[w]hen first signing

                   14   up . . . users agree to . . . [LinkedIn’s] Privacy Policy and [] Cookie Policy.” (Id. ¶ 29.) She further

                   15   alleges that she “purchased Semaglutide from [ReflexMD] in approximately June 2024.” (Id. ¶ 6.)

                   16          B.      LinkedIn’s Insight Tag
                   17          LinkedIn enables advertisers to run advertising campaigns through its Marketing Solutions

                   18   services. (Id. ¶¶ 14-15.) Using these services, advertisers can target their advertisements to

                   19   particular audiences based on certain audience characteristics. (Id. ¶ 15.) LinkedIn’s Insight Tag

                   20   is a piece of JavaScript code that advertisers can install on their websites to enable features like

                   21   campaign reporting to facilitate their advertising and marketing campaigns through LinkedIn. (Id.

                   22   ¶¶ 21-22; see also Declaration of Aarti Reddy in Supp. Def. LinkedIn Corp. Mot. to Dismiss

                   23   (“Reddy Decl.”) Ex. A.) After an advertiser installs the Insight Tag on its website and a LinkedIn

                   24   member visits that website, the member’s browser sends certain information about that visit to

                   25   LinkedIn. (Id. ¶¶ 23-26.) Some of that information is then allegedly sent to LinkedIn’s Marketing

                   26   Solutions advertising systems, where it is provided to advertisers to optimize their advertising

                   27   campaigns, facilitate advertising retargeting, or learn more about their audiences. (Id. ¶¶ 15-18.)

                   28   By helping advertisers analyze their website visitor information, LinkedIn enables those advertisers
COOLEY LLP
ATTORNEYS AT LAW
                                                                                         DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                             3                   COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24      Page 11 of 32



                    1   to target their advertisements to the most receptive LinkedIn members. (Id. ¶¶ 18-19.) Notably,

                    2   while Plaintiff contends that LinkedIn “obtain[s]” “personal information and communications” (id.

                    3   ¶ 17) to help advertisers “target . . . account holders for advertising” (id. ¶¶ 27), nowhere does she

                    4   plausibly allege that LinkedIn uses any such data for its own independent purposes.

                    5          C.      ReflexMD’s Use of LinkedIn’s Insight Tag
                    6          Plaintiff alleges that “ReflexMD is an online healthcare operator that offers Semaglutide

                    7   prescriptions,” (id. ¶ 35.), and that “Semaglutide is not available over-the-counter,” such that

                    8   “consumers must complete a survey in order to see if they qualify for the medication.” (id. ¶ 36.)

                    9   According to Plaintiff, ReflexMD installed the Insight Tag on pages through which members

                   10   complete this survey. (See id. ¶ 43.) Plaintiff further alleges that as a LinkedIn member completes

                   11   the survey on ReflexMD’s website, the Insight Tag on its pages sends various information to

                   12   LinkedIn, including survey responses and a cookie identifier for the member. (Id. ¶¶ 39-45).

                   13          Plaintiff contends that, while purchasing Semaglutide in June 2024, her activity on

                   14   ReflexMD’s website was transmitted to LinkedIn via the Insight Tag and that at the time, she was

                   15   not aware that ReflexMD had installed the Insight Tag on its website. (Id. ¶ 6.) Plaintiff does not

                   16   identify any specific survey responses she purportedly transmitted to ReflexMD, nor does she

                   17   contend that she received targeted advertising from either ReflexMD or LinkedIn or that LinkedIn

                   18   actually used her data in any way. Instead, she merely alleges that she “discover[ed]” ReflexMD’s

                   19   use of LinkedIn’s Insight Tag “around July 2024,” under unspecified circumstances. (Id. ¶ 47.)

                   20   III.   ARGUMENT
                   21          Plaintiff brings two claims under CIPA and another for constitutional Invasion of Privacy

                   22   on behalf of herself and a class of all LinkedIn members who purchased Semaglutide on

                   23   www.reflexmd.com. Plaintiff fails to state a claim as to any cause of action under Rule 12(b)(6).

                   24          A.      Plaintiff Fails to State a Claim Under CIPA § 631
                   25          Plaintiff premises her Section 631 claim on CIPA’s first three clauses. (Compl. ¶¶ 65-67).

                   26   CIPA’s first clause applies to any person who intentionally taped, electrically or otherwise,

                   27   Plaintiff’s transmissions. Cal. Penal Code § 631(a). CIPA’s second clause applies to “[a]ny person

                   28   who willfully and without the consent of all parties to the communication, or in any unauthorized
COOLEY LLP
ATTORNEYS AT LAW
                                                                                       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                            4                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD           Document 13        Filed 10/25/24       Page 12 of 32



                    1   manner, reads, or attempts to read, or to learn the contents or meaning of any . . . communication

                    2   while the same is in transit . . . within this state.” Cal. Penal Code § 631(a). CIPA’s third clause

                    3   applies to any person “who uses, or attempts to use, in any manner, or for any purpose, or to

                    4   communicate in any way, any information” obtained in violation of clauses one or two. Id. Her

                    5   claim under each of these theories fails for multiple reasons, each of which is dispositive. 1

                    6            First, as an initial and dispositive matter, Plaintiff cannot proceed under any of her three

                    7   theories of liability because her Section 631 claim is barred by the party exception. As a vendor

                    8   that provided a tool to assist ReflexMD with its marketing and advertising efforts, LinkedIn was a

                    9   party to Plaintiff’s alleged communications with ReflexMD, not a third-party eavesdropper.

                   10            Second, Plaintiff’s claims fail under CIPA’s first clause because this clause “concerns

                   11   telephonic wiretapping specifically, which does not apply to the context of the internet.” Williams

                   12   v. What If Holdings, LLC, 2022 WL 17869275, at *2 (N.D. Cal. Dec. 22, 2022).

                   13            Third, Plaintiff also fails to plausibly allege many of the requisite elements of her claim

                   14   under CIPA’s second clause.         Specifically, her Complaint is devoid of factual allegations

                   15   establishing that (1) LinkedIn “read or attempted to read, or to learn the contents or meaning of”

                   16   any purported communication, (2) that any alleged interception occurred while the communication

                   17   was “in transit,” (3) that interception occurred while the Plaintiff’s communication with ReflexMD

                   18   was in transit “within this state,” and that (4) any such interception was “willful.”

                   19            Fourth, Plaintiff’s claim under CIPA’s third clause fails because it is entirely derivative of

                   20   her deficient clause-one and clause-two claims, and because she has not plausibly pled that

                   21   LinkedIn “use[d] or attempted to use” the challenged information. Cal. Penal Code § 631(a).

                   22                    1.     LinkedIn Is Not Liable Under CIPA Because It Was a Party to the
                                                Alleged Communications, Not a Third-Party Eavesdropper.
                   23

                   24            To begin, all of Plaintiff’s CIPA claims fail under CIPA’s party exception. It is well

                   25

                   26   1
                            United States v. Carr, 513 F.3d 1164, 1168 (9th Cir. 2008) (citation omitted); see also Joffe v.
                   27
                        Google, Inc., 746 F.3d 920, 935 (9th Cir. 2013) (stating that rule of lenity applies even to criminal
                   28
                        statutes raised in civil cases, and may apply to Federal Wiretap Act).
COOLEY LLP
ATTORNEYS AT LAW
                                                                                        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                             5                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24      Page 13 of 32



                    1   established that CIPA applies “only to eavesdropping by a third-party and not to recording by a

                    2   participant to a conversation.” In re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 607

                    3   (9th Cir. 2020) (citing Warden v. Kahn, 99 Cal. App. 3d 805, 811 (1979)). Plaintiff’s bare pleading

                    4   fails to allege that LinkedIn acted as anything more than an extension of and service provider to

                    5   ReflexMD, which was a party to the alleged communications. The leading case on this topic,

                    6   Graham v. Noom, analyzed a similar theory and held that a third-party vendor did not violate CIPA

                    7   where it merely “provide[d] a software service that captures its clients’ data . . . and allow[ed] the

                    8   clients to analyze their data” but had not “intercepted and used the data itself.” 533 F. Supp. 3d

                    9   832, 832 (N.D. Cal. 2021). Rather, the vendor operated as “an extension of Noom,” the website

                   10   operator, offering “a tool . . . that allows Noom to record and analyze its own data.” Id. (emphases

                   11   added). Numerous courts across this district have endorsed this reasoning. See, e.g., Love v. Ladder

                   12   Fin., Inc., 2024 WL 2104497, at *1 (N.D. Cal. May 8, 2024) (finding Graham analysis dispositive

                   13   of CIPA claims); Doe I v. Google LLC, 2024 WL 3490744, at *6 (N.D. Cal. July 22, 2024)

                   14   (applying Graham); Williams, 2022 WL 17869275, at *3. 2

                   15            The same analysis warrants dismissal here. Plaintiff has not pled that LinkedIn acted as

                   16

                   17   2
                            See also Jones v. Peloton Interactive, Inc., 2024 WL 1123237, at *3 (S.D. Cal. Mar. 12, 2024)
                   18
                        (dismissing CIPA claim where third-party vendor “acts as an extension of Peloton, providing a tool
                   19
                        that allows Peloton to ‘record and analyze its own data in aid of [Peloton's] business’”); Licea v.
                   20
                        Am. Eagle Outfitters, Inc., 659 F. Supp. 3d 1072, 1083 (C.D. Cal. 2023) (third-party software
                   21
                        provider was subject to party exception because software functioned more like a tape recorder,
                   22
                        given it was not alleged to have harvested data for its own use); Yale v. Clicktale, Inc., 2021 WL
                   23
                        1428400, at *1, *3 (N.D. Cal. April 15, 2021) (vendor providing “Event Triggered Recorder”
                   24
                        software was not a third-party eavesdropper since it “allows its clients to monitor their website
                   25
                        traffic”); Johnson v. Blue Nile, Inc., 2021 WL 1312771, at *1 (N.D. Cal. Apr. 8, 2021) (similar);
                   26
                        see also Martin v. Sephora USA, Inc., 2023 WL 2717636, at *13 (E.D. Cal. Mar. 30, 2023) (vendor
                   27
                        not a third-party eavesdropper because it acted “as an extension of the company”); Byars v. Hot
                   28
                        Topic, Inc., 656 F. Supp. 3d 1051, 1068 (C.D. Cal . 2023) (similar).
COOLEY LLP
ATTORNEYS AT LAW
                                                                                       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                            6                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13         Filed 10/25/24       Page 14 of 32



                    1   anything more than an extension of ReflexMD.            Indeed, both her pleading and documents

                    2   incorporated by reference in the Complaint establish that the Insight Tag is installed by website

                    3   owners. (Reddy Decl. Ex. A cited in Compl. n. 17 (describing how advertisers can “manually

                    4   install the tag . . . yourself[.]”) (emphasis added); see also Compl. ¶ 22 (explaining that the “Insight

                    5   Tag is a JavaScript-based code which allows for the installation of its software”)). She plainly

                    6   alleges LinkedIn represents to Insight Tag users that the tag is “[a] simple code snippet added to

                    7   [a] website [that] can help you optimize your campaigns, retarget your website visitors, and learn

                    8   more about your audiences.” (Compl. ¶ 21.) Her allegations then focus on how these tools “allow[]

                    9   marketers . . . to target potential customers”; “allow advertisers to select specific characteristics

                   10   to help them reach their ideal audience” and “allow potential advertisers to ‘[b]uild strategic

                   11   campaigns.’” (Compl. ¶¶ 15, 18.) Nowhere does Plaintiff allege that LinkedIn shared her data (or

                   12   any ReflexMD data) with other advertisers or that it used it for any independent purpose. At most,

                   13   Plaintiff contends that the Insight Tag generally sends certain cookies that allow LinkedIn to

                   14   identify the user associated with certain Insight Tag transmissions, and then offers a conclusory

                   15   assertion that LinkedIn can use this information to target ads to account holders. (Compl. ¶¶ 25-

                   16   27, 79.) This bald allegation is not supported by any well-pled facts, and in fact, it is contradicted

                   17   by the other allegations demonstrating that LinkedIn merely provides data to advertising customers

                   18   to facilitate their own ad campaigns. (Compl. ¶¶ 15, 18, 21.) Accordingly, the Complaint alleges

                   19   only that LinkedIn collected and maintained information received at the direction of ReflexMD, to

                   20   enable advertising requested by ReflexMD. Just as in Graham, Love, Williams, and other cases,

                   21   Plaintiff has failed to allege that LinkedIn’s Insight Tag was anything more than a mere “tool that

                   22   [defendant] used to record its communications with plaintiff.” Williams, 2022 WL 17869275, at

                   23   *3; see also Love v. Ladder Fin., Inc., 2024 WL 2104497, at *1 (N.D. Cal. May 8, 2024)

                   24   (“[P]laintiffs have only alleged that FullStory provides a tool that allows Ladder to record, track,

                   25   and analyze the interactions that users have with its own site.”).

                   26          For many courts, the analysis begins and ends with Graham. Plaintiff may, however, invoke

                   27   another line of cases holding that an analytics provider is not an extension of a defendant if it has

                   28   “the capability to use” communications for any other purpose than supporting the website operator.
COOLEY LLP
ATTORNEYS AT LAW
                                                                                         DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                             7                   COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD           Document 13        Filed 10/25/24       Page 15 of 32



                    1   Javier v. Assurance IQ, LLC, 649 F. Supp. 3d 891, 900 (N.D. Cal. 2023). Even if the Court adopted

                    2   the Javier framework, Plaintiff’s claims would still fail because she has not alleged that LinkedIn

                    3   is capable of using information received from ReflexMD for its own independent purposes.

                    4          As explained above, rather than alleging capability of use, Plaintiff’s allegations focus on

                    5   how the Insight Tag “allows marketers and advertisers” to conduct targeted advertising. At most,

                    6   Plaintiff alleges that unspecified “personal information and communications obtained by LinkedIn

                    7   are used to fuel various services offered via LinkedIn’s Marketing Solutions.” (Compl. ¶ 17.) She

                    8   further alleges, in a general fashion, that the Insight Tag may transmit certain cookies that enable

                    9   LinkedIn to identify the user and that based on this data, LinkedIn is “able to” target its own users

                   10   with ads. (Compl. ¶¶ 24-27.) Nowhere does she elaborate on these allegations or plead any facts

                   11   that render them plausible, let alone allege that she ever saw or received targeted advertising herself.

                   12   In this way, her pleading does not plausibly allege that LinkedIn is capable of identifying users for

                   13   its own independent ad targeting purposes. As court after court applying Javier has held, a plaintiff

                   14   must plead specific facts to support an inference that a vendor independently used the underlying

                   15   “communication.” For example, in Heiting v. Athenahealth, Inc., 2024 WL 3761294, at *4 (C.D.

                   16   Cal. July 29, 2024), the Court granted dismissal, observing that the plaintiff’s allegations that

                   17   Salesforce “may record, store, and use” the underlying data and “uses chat data to enhance its own

                   18   business” were “too general and conclusory to support a reasonable inference that Salesforce had

                   19   the capability to use the communications for any purpose beyond providing it to Defendant.”

                   20   Multiple courts have similarly dismissed CIPA claims based on allegations of use that are even

                   21   more detailed than those at issue here. See, e.g., Valenzuela v. Super Bright LEDs Inc., 2023 WL

                   22   8424472, at *8 (C.D. Cal. Nov. 27, 2023) (finding plaintiff’s allegation that chat vendor had

                   23   “capability to use its record of [w]ebsite users’ interactions” for data analytics and

                   24   marketing/advertising to consumers “conclusory and insufficient”); Swarts v. Home Depot, Inc.,

                   25   689 F. Supp. 3d 732, 737-738 (N.D. Cal. 2023) (allegations that defendant “analyz[ed] the data and

                   26   provid[ed] [] customer data metrics related to each conversation” and “accesse[d] and analyze[d]”

                   27   those “conversations” were not sufficient to show capability of use); Yockey v. Salesforce, Inc., 688

                   28   F. Supp. 3d 962, 973 (N.D. Cal. 2023) (dismissing CIPA claim that provider “analyzes the
COOLEY LLP
ATTORNEYS AT LAW
                                                                                         DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                             8                   COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24       Page 16 of 32



                    1   customer-support agent interactions in real time to create live transcripts of communications”). 3

                    2            LinkedIn acknowledges that Judge Pitts recently denied a motion to dismiss involving

                    3   LinkedIn’s Insight Tag. LinkedIn respectfully submits that the Court erred. The Court dispensed

                    4   with the vendor argument without rigorous analysis and concluded that the plaintiff in Jackson

                    5   plausibly alleged independent use based on only a few general allegations that the defendant

                    6   “monetizes the collected data through the sale of ads” and “enables advertisers to target users with

                    7   relevant content.” Jackson v. LinkedIn Corp., 2024 WL 3823806 (N. D. Cal. Aug. 13, 2024). But

                    8   such conclusory allegations are not enough to plead that LinkedIn used data independently, as an

                    9   eavesdropper, as many courts have held. Supra 7-9. Here, the Court should not follow Jackson’s

                   10   lead and should instead dismiss her CIPA claims because Plaintiff has not alleged even in a

                   11   conclusory fashion that LinkedIn has the capability to use her alleged communications for its own

                   12   purposes, let alone done so with the required specificity.

                   13             Finally, even if Plaintiff’s sparse allegations regarding LinkedIn’s advertising services

                   14   were sufficient to plead capability of use under Javier, her claims would still fail for an independent

                   15   reason: None of those allegations are tethered to Plaintiff’s alleged communications with

                   16   ReflexMD. In Cody v. Ring LLC, the Court found allegations of use “conclusory” where they were

                   17   based on public reporting that the analytics provider “exploited” chat data for “targeted advertising”

                   18   but said “nothing about Ring [defendant website] or about Meta or Kustomer using Ring data to

                   19

                   20   3
                            By contrast, those courts that have denied dismissal based on Javier have done so based on
                   21
                        allegations that are far more robust than those pled by Plaintiff. See, e.g., Yockey v. Salesforce,
                   22
                        Inc., 2024 WL 3875785, at *4 (N.D. Cal. Aug. 16, 2024) (finding capability of personal use where
                   23
                        plaintiff alleged Salesforce fed chat communications into “Einstein,” its “data intelligence
                   24
                        platform,” to “train the AI models that form the basis of some of [Salesforce’s] services”); Jones v.
                   25
                        Peloton Interactive, Inc., 2024 WL 3315989, at *4 (S.D. Cal. July 5, 2024) (finding capability of
                   26
                        personal use adequately alleged where plaintiff alleged that “Drift analyzes and uses the chat
                   27
                        conversations it intercepts [to improve its machine learning technologies] all of which
                   28
                        independently benefits and serves” Drift).
COOLEY LLP
ATTORNEYS AT LAW
                                                                                        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                            9                   COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD           Document 13        Filed 10/25/24       Page 17 of 32



                    1   create targeted advertising.” 718 F. Supp. 3d 993, 1003 (N.D. Cal. 2024); see also Doe v. Google

                    2   LLC, 2024 WL 3490744, at *3 (N.D. Cal. July 22, 2024) (dismissing CIPA claims where the

                    3   complaint “relie[d] heavily on Google’s own product descriptions” and lacked allegations as to the

                    4   use of Google Analytics by the healthcare websites at issue). The same defect plagues Plaintiff’s

                    5   complaint. She relies on generic descriptions regarding “the various services offered via LinkedIn

                    6   Marketing Solutions,” and did not adequately allege facts about the challenged website. (Compl.

                    7   ¶¶ 14-17.) Such allegations are not sufficient to state a claim under CIPA, and all three of her CIPA

                    8   claims should be dismissed for this reason as well.

                    9                  2.      Plaintiff’s Clause-One Claim Fails for Additional Reasons.
                   10          Plaintiff cannot assert a claim under CIPA’s first clause because it is well settled that this

                   11   provision “prohibits telephonic wiretapping, which does not apply to the internet.”

                   12   St. Aubin v. Carbon Health, 2024 WL 4369675, at *4 (N.D. Cal. Oct. 1, 2024) (citation omitted);

                   13   Ramos v. The Gap Inc., 2024 WL 4351868, at *3 (N.D. Cal. Sept. 30, 2024) (“[C]ourts have

                   14   consistently interpreted this first clause as applying only to tapping communications over

                   15   telephones and not through the internet.”) (collecting cases).         Plaintiff alleges only internet

                   16   transmissions: that she accessed ReflexMD’s website and that “LinkedIn tracked and intercepted

                   17   Plaintiff’s and Class Members’ internet communications while using www.reflexmd.com to

                   18   purchase Semaglutide.” (Compl. ¶¶ 6, 62.) Her clause-one CIPA claim fails for this reason as well.

                   19                  3.      Plaintiff’s Claim Under CIPA’s Second Clause Has Additional Defects.
                   20          Plaintiff also fails to plead facts establishing various other elements of a claim brought under

                   21   CIPA’s second clause. Specifically, Plaintiff has not plausibly alleged that LinkedIn: (1) “read or

                   22   attempted to read” her “communications,” (2) while they were in transit, (3) within the state, nor

                   23   that it (4) did so “willfully.” Each of these failures is dispositive of her claim.

                   24          Read or Attempting to Read. Under CIPA’s second clause, Plaintiff must at least plausibly

                   25   allege facts concerning LinkedIn’s attempt to “read, or to learn the contents” of any purported

                   26   communications. § 631(a). Plaintiff’s conclusory allegation that LinkedIn read or attempted to

                   27   “read, or learn the contents or meaning of Plaintiff’s and Class Members’ communications to

                   28   ReflexMD” is a mere recitation of elements and is not entitled to a presumption of truth. (Compl.
COOLEY LLP
ATTORNEYS AT LAW
                                                                                         DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                             10                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24      Page 18 of 32



                    1   ¶ 66; see also ¶ 63 (“Through these interceptions, LinkedIn intended to learn some meaning of the

                    2   content the visitors requested.”)); see Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

                    3          At most, Plaintiff alleges that LinkedIn received her alleged communications, not that it

                    4   read or attempted to learn their contents. (See Compl. ¶ 33 (explaining only how “LinkedIn

                    5   intercepts and receives” the challenged information) (emphasis added)). In James v. Allstate

                    6   Insurance Company, for example, the plaintiff alleged that the defendant’s analytics provider

                    7   “recorded the data and store[d] it on its servers.” 2023 WL 8879246, at *3 (N.D. Cal. Dec. 22,

                    8   2023). The Court found such allegations “insufficient to support a plausible interference [that] [the

                    9   analytics provider] attempted to read or learn the contents of the communications while in transit.”

                   10   Id. Plaintiff’s allegations that LinkedIn “obtained” certain data from ReflexMD are similarly

                   11   deficient. (Compl. ¶ 17.) As in James, Plaintiff has not pled any facts creating a plausible inference

                   12   that LinkedIn read or attempted to learn the contents of her alleged communications with

                   13   ReflexMD, such as by alleging that she was served ads related to her purchases. See also Love,

                   14   2024 WL 2104497, at *2 (finding allegation that defendant “may use and share information in an

                   15   aggregated and de-identified manner” insufficient as it created “no coherent story of how or why

                   16   FullStory would learn such granular information about users of one of its customers’ sites”).

                   17          Further, an analytics provider that offers a tool to allow customers to process their own data

                   18   cannot be said to “read” or “learn” the contents of a communication. (Compl. ¶ 22.) If that

                   19   amounted to a CIPA violation, every software-as-a-service provider would be liable for the use of

                   20   their tool on any website. Such ubiquitous practices cannot violate CIPA or fit within Ribas v.

                   21   Clark, 38 Cal. 3d 355 (1985), the California Supreme Court’s seminal “vendor exception” decision.

                   22          In Transit. “[T]he crucial question under § 631(a)’s second clause is whether [plaintiff]

                   23   has plausibly alleged that [defendant] read one of his communications while it was still in transit,

                   24   i.e., before it reached its intended recipient.” Mastel v. Miniclip SA, 549 F. Supp. 3d 1129, 1137

                   25   (E.D. Cal. 2021); Section 631(a) (penalizing attempts to “learn the contents . . . of any . . .

                   26   communication while the same is in transit”). This means that to state a claim under CIPA’s second

                   27   clause, the plaintiff must allege specific facts including “when the interception occurs.” Swarts,

                   28   689 F. Supp. 3d at 746 (emphasis added).          While Plaintiff alleges that LinkedIn intercepts
COOLEY LLP
ATTORNEYS AT LAW
                                                                                       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                           11                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD           Document 13       Filed 10/25/24       Page 19 of 32



                    1   confidential information when website visitors are completing an online survey and later pleads, in

                    2   a conclusory fashion, that such interceptions occurred “in transit,” she alleges no facts that render

                    3   either of these allegations plausible. (Compl. ¶¶ 47, 66). “While Plaintiff[] need not prove [her]

                    4   theory of interception on a motion to dismiss, Plaintiff[] must provide fair notice to Defendant[] of

                    5   when [she] believe[s] [Defendant] intercepts [her] communications.” In re Vizio Inc. Consumer

                    6   Priv. Litig., 238 F. Supp. 3d 1204, 1228 (C.D. Cal. 2017); see also Esparza v. Gen Digital Inc.,

                    7   2024 WL 655986, at *4 (C.D. Cal. Jan. 16, 2024) (emphasis added) (dismissing CIPA claims

                    8   involving pixel technology where “Plaintiff fail[ed] to allege specific facts about . . . when the

                    9   interception took place, and how the interception took place”). 4

                   10            Sent or received within California. Plaintiff must also allege that LinkedIn intercepted her

                   11   communication while it was “being sent from, or received at any place within this state.” § 631(a).

                   12   She has not done so. Plaintiff alleges she is domiciled in Florida and has not alleged ReflexMD

                   13   has any presence in California. (Compl. ¶ 5.) She has thus not alleged she had communications to

                   14   or from the state of California that LinkedIn could have intercepted.

                   15            Willful. To state a clause-two claim, Plaintiff must plausibly allege LinkedIn “willfully”

                   16   obtained and read, or attempted to read, her communications with ReflexMD.                  Plaintiff’s

                   17   allegations are little more than a bare recitation of the statute’s elements and are not entitled to a

                   18   presumption of truth. Twombly, 550 U.S. at 570. Specifically, she pleads that “LinkedIn, willfully

                   19   and without the consent of Plaintiff and Class Members, read or attempted to read, or learn the

                   20   contents or meaning of Plaintiff’s and Class Members’” and “used or attempted to use the

                   21   communications and information they received through their tracking technology, including to

                   22   supply advertising services.” (Compl. ¶¶ 66-67.) Plaintiff must plead more to state a violation of

                   23

                   24   4
                            Cody v. Ring LLC, 718 F. Supp. 3d 993, 1001 (N.D. Cal. Feb. 22, 2024) (dismissing and finding
                   25
                        allegation that “application program is ‘plugged into’ Ring’s website and allows chats to be routed
                   26
                        ‘in real time’ .... fail[s] to provide specific factual allegations”); Rodriguez v. Google LLC, 2022
                   27
                        WL 214552, at *2 (N.D. Cal. Jan. 25, 2022) (“[u]sing the word ‘intercept’ repeatedly is simply not
                   28
                        enough” to “make it plausible Google is intercepting [plaintiff’s] data in transit”).
COOLEY LLP
ATTORNEYS AT LAW
                                                                                       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                           12                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24       Page 20 of 32



                    1   CIPA, and courts have dismissed similar claims based on far more detailed allegations of intent.

                    2   Cf. Heiting v. Taro Pharm s. USA, Inc., 2023 WL 9319049, at *6 (C.D. Cal. Dec. 26, 2023) (holding

                    3   allegations that “Defendant paid Genesys to intercept messages . . . [did not] demonstrate[]

                    4   Defendant acted with the requisite knowledge or intent to aid and abet Genesys’s purported CIPA

                    5   violation”). Even if such allegations were sufficient, Plaintiff cannot plausibly allege intent on the

                    6   face of LinkedIn’s policies disclosing the opposite intention—that LinkedIn does not want to

                    7   receive sensitive information and expressly prohibits websites from transmitting such data to

                    8   LinkedIn through its Advertising Agreement and Ads Policies. (Reddy Decl. Ex. B, LinkedIn Ads

                    9   Agreement) (“You will also not transfer to LinkedIn any data that . . . constitutes Sensitive Data,

                   10   including by way of installing the Insight Tag on a page that collects medical, financial, or other

                   11   Sensitive Data about identified or identifiable individuals.”); (id. Ex. C, LinkedIn Advertising

                   12   Policies) (“Ads must not target based on sensitive data or categories . . . including medical

                   13   information and consumer health data.”).

                   14          Doe is instructive. There, Judge Chhabria found “plaintiffs have not adequately alleged that

                   15   Google intentionally obtained patients’ private health information” via Google Analytics, inter alia,

                   16   because “Google repeatedly told developers not to send personally identifiable information” and

                   17   thus “purposefully acted so as not to receive any personal health information.” Doe, 2024 WL

                   18   3490744, at *4. The same reasoning applies here, and Plaintiff’s claim fails for this same reason.

                   19                  4.      Plaintiff’s Claims Under CIPA’s Third Clause Have Further Flaws.
                   20          To begin, a claim brought under CIPA’s third clause for use of unlawfully obtained data

                   21   must be predicated on a violation of one of the first two clauses and thus fails because Plaintiff does

                   22   not assert a viable claim under either of those clauses. In re Google Assistant Privacy Lit., 457 F.

                   23   Supp. 3d 797, 827 (N.D. Cal. 2020) (“Plaintiffs must establish that the information at issue . . . was

                   24   obtained through a violation of the first or second clauses. Because Plaintiffs have not done so,

                   25   they have failed to plead a violation of third clause.”); Mastel, 549 F. Supp. 3d at 1137 (no

                   26   derivative liability under third clause without predicate).

                   27          Additionally, as discussed above, Plaintiff pleads no facts that render plausible her

                   28   unsupported allegation that LinkedIn independently used any of the allegedly intercepted
COOLEY LLP
ATTORNEYS AT LAW
                                                                                        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                            13                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13         Filed 10/25/24       Page 21 of 32



                    1   information. Her conclusory allegation that LinkedIn “is able to target its account holders for

                    2   advertising” alleges what is possible, but not what occurred here. (Compl. ¶ 27.) And her claim

                    3   that “personal information and communications obtained by LinkedIn are used to fuel various

                    4   services offered via LinkedIn’s Marketing Solutions” is inadequate to plead LinkedIn used any of

                    5   her data.   They are not tethered to ReflexMD or Plaintiff, let alone any specific alleged

                    6   communications. (Id. ¶ 17.) In this way, this is an even more attenuated series of allegations than

                    7   those rejected in James: that “record[ing] the data and stor[ing] it . . . is insufficient to support a

                    8   plausible interference [sic] [the analytics provider] attempted to read or learn [its] contents.” James,

                    9   2023 WL 8879246, at *3. Plaintiff’s claim fails for this reason as well.

                   10          B.      Plaintiff Fails to State a Claim Under CIPA § 632
                   11          To state a claim under § 632, Plaintiff must show, inter alia, that LinkedIn intentionally

                   12   recorded a “confidential” communication by means of an “amplifying or recording device.” See

                   13   Cal. Penal Code § 632. Plaintiff has not satisfied these elements. She fails to adequately allege

                   14   that LinkedIn “intentionally” recorded a “confidential” communication, and that the Insight Tag—

                   15   a piece of JavaScript software code—qualifies as an “amplifying or recording device.”

                   16          Intentionally Record: Like her Section 631 claim, Plaintiff’s Section 632 claim is

                   17   insufficient because her Complaint fails to plausibly allege that LinkedIn acted with “intent.” (See

                   18   generally Compl. ¶¶ 71-81.) Further, her only allegations regarding LinkedIn’s state of mind

                   19   merely parrot Section 631’s elements. (Id. at ¶¶ 65-66.) These bare allegations do not satisfy

                   20   Plaintiff’s pleading burden, which requires that she allege “specific factual circumstances that make

                   21   plausible [LinkedIn’s] intent to record a confidential communication.” Vartanian v. VW Credit,

                   22   Inc., 2012 WL 12326334, at *2 (C.D. Cal. Feb. 22, 2012) (finding allegation that Defendant “had

                   23   a policy or practice of recording telephone conversations” too conclusory to plead intent). Indeed,

                   24   California courts have long held that Section 632(a)’s intent requirement is satisfied only if “the

                   25   person using the recording equipment [did] so with the purpose or desire of recording a confidential

                   26   conversation, or with the knowledge to a substantial certainty that his use of the equipment will

                   27   result in the recordation of a confidential conversation.” People v. Superior Court (Smith), 70 Cal.

                   28   2d 123, 134 (1969) (emphases added). It is not enough to intend to use a recording device; instead,
COOLEY LLP
ATTORNEYS AT LAW
                                                                                         DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                            14                   COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24       Page 22 of 32



                    1   a defendant must intend to use it for an impermissible purpose. This rule “provides effective

                    2   protection against ‘eavesdroppers’ without penalizing the innocent use of recording equipment.”

                    3   Id. Plaintiff’s bare pleading, coupled with LinkedIn’s policies specifically prohibiting advertising

                    4   customers from sending sensitive information via the Insight Tag, belie any plausible inference that

                    5   LinkedIn intended for advertising customers to use the Insight Tag for an impermissible purpose.

                    6          Device: Plaintiff’s Section 632 claim also fails because she does not plead that the Insight

                    7   Tag is an “amplifying or recording device.” § 632(a). Plaintiff alleges that the Insight Tag “is a

                    8   JavaScript-based code which allows for the installation of its software.” (Compl. ¶ 22.) Numerous

                    9   courts interpreting CIPA recognize that software is not a “device,” and have dismissed CIPA claims

                   10   challenging software. A.S. v. SelectQuote Ins. Servs., 2024 WL 3881850, at *11 (S.D. Cal. Aug.

                   11   19, 2024) (dismissing § 632 claim based on recording by software); Doe v. Microsoft Corp., 2023

                   12   WL 8780879, at *8 (W.D. Wash. Dec. 19, 2023) (holding same) (“Because software does not

                   13   constitute a ‘device’ under the CIPA, Plaintiff’s § 632 claim against Microsoft is deficient.”);

                   14   Moreno v. San Francisco Bay Area Rapid Transit Dist., 2017 WL 6387764, at *5 (N.D. Cal. Dec.

                   15   14, 2017) (holding “device” does not apply to software under CIPA § 637.7); In re Google Location

                   16   Hist. Litig., 428 F. Supp. 3d 185, 193 (N.D. Cal. 2019) (holding same). This approach is well-

                   17   reasoned and consistent both with rules of statutory construction and CIPA’s legislative history.

                   18          In interpreting California law, courts look to the “actual words of the statute” and “giv[e]

                   19   them a plain and commonsense meaning.” In re Google Location Hist. Litig., 428 F. Supp. 3dat

                   20   193 (quoting Cal. Teachers Ass’n v. Governing Bd. of Rialto Unified Sch. Dist., 14 Cal.4th 627

                   21   (1997)). Moreno is instructive. There, the Court interpreted a different provision of CIPA and

                   22   observed that a device is generally understood as a “thing,” “a piece of mechanical or electronic

                   23   equipment” or “a piece of equipment or a mechanism designed to serve a special purpose or perform

                   24   a special function.” 2017 WL 6387764, at *5. It then concluded that because the term “device”

                   25   refers to a physical object, it did not apply to the software at issue. Id.; see also In re Google

                   26   Location Hist. Litig., 428 F. Supp. 3d 193 (holding same).

                   27          Legislative history is consistent with this interpretation. The legislature chose to limit § 632

                   28   to electronic “devices,” and although the statute was modified in 2017 by AB 1671, those revisions
COOLEY LLP
ATTORNEYS AT LAW
                                                                                        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                           15                   COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD           Document 13        Filed 10/25/24      Page 23 of 32



                    1   did nothing to modify the statute to address software.

                    2          LinkedIn acknowledges that a handful of courts in this district have denied this argument at

                    3   the pleadings stage and allowed plaintiffs to allege that software is a “device” for purposes of § 632.

                    4   In Doe v. Meta Platforms and Yockey, the Court found that software was a device for purposes of

                    5   § 632 based on cases interpreting the term in the federal Wiretap Act. Doe v. Meta Platforms, Inc.

                    6   690 F. Supp. 3d 1064, 1080 (N.D. Cal. 2023), motion to certify appeal denied, 2024 WL 4375776

                    7   (N.D. Cal. Oct. 2, 2024); Yockey, 2024 WL 3875785, at *7. But neither of those courts considered

                    8   legislative history or the plain language of the statute, and the federal Wiretap Act cases on which

                    9   those courts relied invoked the definition of “device” in the Wiretap Act, which has no application

                   10   here. In re Carrier IQ, Inc., 78 F. Supp. 3d 1051, 1084 (N.D. Cal. 2015). Accordingly, the Court

                   11   should not be persuaded by the reasoning in Doe and Yockey.

                   12          Confidential: Lastly, Plaintiff does not plausibly allege that her online communications

                   13   with ReflexMD were “confidential” within the meaning of the statute. “A communication is

                   14   confidential under Section 632 if a party ‘has an objectively reasonable expectation that the

                   15   conversation is not being overheard or recorded.’” Swarts, 689 F. Supp. 3d at 746. Because online

                   16   “communications can easily be shared by, for instance, the recipient(s) of the communications,”

                   17   “California appeals courts have generally found that Internet-based communications are not

                   18   ‘confidential’ within the meaning of [S]ection 632.” Id. at 746-47 (quoting Campbell v. Facebook

                   19   Inc., 77 F. Supp. 3d 836, 849 (2014)) (collecting cases). Indeed, there is a “presumption’ that such

                   20   communications do not give rise to the requisite expectation.” Id. at 747 (quoting Revitch v. New

                   21   Moosejaw, Inc., 2019 WL 5485330, at *3 (N.D. Cal. Oct. 23, 2019)). That presumption should

                   22   apply here, and Plaintiff’s claim should be dismissed for this reason as well.

                   23          C.        Plaintiff’s Section 631 and 632 Claims Also Fail Because She Has Not Alleged
                                         Interception of “Content.”
                   24
                                    To state a valid claim, Sections 631 and 632 of CIPA both require that Plaintiff plausibly
                   25
                        allege that LinkedIn unlawfully intercepted “communications.” §§ 631(a), 632. Here, Plaintiff
                   26
                        merely alleges that LinkedIn receives “information about which page on the ReflexMD Website
                   27
                        [she] was viewing as well as the sections [she] was making[.]” (Compl. ¶ 43.) But routine
                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                            16                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24      Page 24 of 32



                    1   browsing information is not a “communication” under state wiretapping law. The Massachusetts

                    2   Supreme Court recently confronted this exact issue in a similar challenge to the use of MetaPixel

                    3   and Google Analytics on hospital websites. 5 Vita v. New England Baptist Hospital, 2024 WL

                    4   4558621, at *3. (Mass. October 24, 2024) In construing the Massachusetts’ law’s statutory text,

                    5   the Court first observed that the statute did not specifically define “communication.” Id. at *4. It

                    6   further observed that “it does seem clear that the plain meaning of ‘communication’ includes

                    7   messages and conversations between people” and held that Plaintiffs’ complaints “do not allege

                    8   communications between people in this commonsense way.” Id. at *8. After surveying legislative

                    9   history and case law, the Court determined “the rule of lenity must apply, thereby entitling the

                   10   defendants to ‘the benefit of any rational doubt’ in the construction of the statute.’” Id. at *7

                   11   (citation omitted). It then dismissed the underlying wiretap claims. Id. at *2.

                   12            The same logic applies here. Like the Massachusetts Wiretap law, CIPA does not define

                   13   “communication.” Further, Plaintiff does not plausibly allege that the browsing information

                   14   identified in her pleading is akin to a communication in accordance with that term’s plain

                   15   meaning. Campbell v. Allied Van Lines Inc., 410 F.3d 618, 620–21 (9th Cir. 2005) (“Under the

                   16   ‘plain meaning’ rule, [w]here the language [of a statute] is plain and admits of no more than one

                   17   meaning the duty of interpretation does not arise[.]") (internal quotations omitted). Accordingly,

                   18   the Court should dismiss each of her CIPA claims for this independent reason.

                   19            D.     Plaintiff Fails to State a Claim for Invasion of Privacy Under the California
                                        Constitution.
                   20
                                 The California Constitution, Art. I, Sec. 1 “set[s] a high bar for an invasion of privacy
                   21
                        claim.” Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1025 (N.D. Cal. 2012) (Koh, J.). To state a
                   22
                        claim for invasion of privacy, a plaintiff must allege (1) a legally protected privacy interest, (2) a
                   23
                        reasonable expectation of privacy under the circumstances, and (3) highly offensive conduct by the
                   24
                        defendant that amounts to a serious invasion of the protected privacy interest. Hill v. Nat’l
                   25
                        Collegiate Athletic Ass’n, 7 Cal. 4th 1, 35–37 (1994). Since these elements overlap with the
                   26
                        elements of a common law claim for intrusion upon seclusion, case law analyzing these causes of
                   27

                   28   5
                            Massachusetts Wiretap law—like CIPA—is a two-party consent statute.
COOLEY LLP
ATTORNEYS AT LAW
                                                                                       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                           17                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24      Page 25 of 32



                    1   action is often considered interchangeably. See, e.g., Hammerling v. Google LLC, 2022 WL

                    2   17365255, at *8 (N.D. Cal. Dec. 1, 2022) (analyzing the tests together).

                    3          Where, as here, the invasion of privacy claim shares a factual basis with a defective

                    4   wiretapping claim (see, e.g., Compl. ¶¶ 82-88), it should likewise be dismissed. Graham, 533 F.

                    5   Supp. 3d at 836. As set forth below, even if the Court considered the Plaintiff’s constitutional claim

                    6   on its own merit, Plaintiff’s allegations fall short of clearing the California Constitution’s “high

                    7   bar” for stating a claim. This Court should dismiss this claim with prejudice.

                    8                  1.      Plaintiff Fails to Allege Any Protected Privacy Interest.
                    9           “Just as the right to privacy is not absolute, privacy interests do not encompass all

                   10   conceivable assertions of individual rights.” Hill, 7 Cal. 4th at 35. Legally recognized privacy

                   11   interests are generally categorized into “two classes: (1) interests in precluding the dissemination

                   12   or misuse of sensitive and confidential information (‘informational privacy’); and (2) interests in

                   13   making intimate personal decisions or conducting personal activities without … intrusion …

                   14   (‘autonomy privacy’).” Id. (emphasis added). Plaintiff alleges neither.

                   15                          a.      Plaintiff’s Generalized Allegations That Consumers’
                                                       Information Is Shared with LinkedIn Do Not State a Claim.
                   16
                               Plaintiff’s claims are premised on sweeping allegations untethered to any assertion that her
                   17
                        own information was in fact shared with LinkedIn. But “[a] privacy interest needs to be pled with
                   18
                        particularity” and “[i]t is not enough to say that a defendant had the ability to invade someone’s
                   19
                        privacy; a plaintiff needs to demonstrate that a defendant invaded their interests[.]” Westron v.
                   20
                        Zoom Video Comm’ns, 2023 WL 3149262, at *2 (N.D. Cal. Feb. 15, 2023) (emphasis added).
                   21
                        Where a plaintiff “does not allege that she shared any information” and instead “makes vague
                   22
                        allegations that [her communications] could include private information and that users often share
                   23
                        sensitive information,” this is insufficient to allege a legally protected privacy interest. Jones v.
                   24
                        Peloton Interactive, Inc., 2024 WL 1123237, at *7 (S.D. Cal. Mar. 12, 2024).
                   25
                               Plaintiff’s allegations pertaining to herself are vague and generic. She asserts, in the
                   26
                        introductory portion of the Complaint that when she “purchased Semaglutide from
                   27
                        [ReflexMD] . . . LinkedIn was tracking her private activity on ReflexMD’s Website” and LinkedIn
                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                           18                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24       Page 26 of 32



                    1   received communications containing some unspecified “prescription information.” (Compl. ¶ 6;

                    2   see also id. ¶¶ 62, 68, 74). Later, she alleges only that “Defendant intercepted her personally

                    3   identifiable information and protected health information,” with no specification—she offers zero

                    4   particularized allegations about what specific information LinkedIn received about her. (Compl.

                    5   ¶ 47.) For example, her allegations about the information LinkedIn could receive from entered

                    6   survey results pertain only to unspecified “consumers.” (Compl. ¶¶ 37-39, 44 (alleging, e.g., that

                    7   “LinkedIn intercepts . . .consumers’ confidential communications . . . when they are completing

                    8   their medical survey on the Website.”)) Plaintiff never even alleges that she took the featured

                    9   survey. Thus, her mere allegations about what information LinkedIn received from “consumers”

                   10   are insufficient. (Compl. ¶ 38 (emphasis added)); see id. ¶¶ 36-45 (characterizing challenged

                   11   processes by reference to “consumers’” actions).)

                   12                          b.      Plaintiff Fails to Allege an Informational Privacy Interest.
                   13          Even setting aside Plaintiff’s failure to put forward particularized allegations establishing

                   14   that she herself had an informational privacy interest LinkedIn could have impinged upon, Plaintiff

                   15   also fails to allege, as she must, (1) that sensitive and confidential information was at issue and (2)

                   16   that LinkedIn disseminated or misused that information. Hill, 7 Cal. 4th at 35.

                   17          Most personally identifying information is not subject to constitutional protection. See

                   18   Cabral v. Supple, LLC, No. EDCV 12-85, 2012 WL 12895825, *3 (C.D. Cal. Oct. 3, 2012).

                   19   Instead, to be protected, the challenged information must be “private,” such that “well-established

                   20   social norms recognize the need to maximize individual control over its dissemination and use to

                   21   prevent unjustified embarrassment or indignity.” Hill, 7 Cal. 4th at 35. Plaintiff attempts to

                   22   shoehorn the information at issue into the category of “sensitive, confidential communications and

                   23   protected health information.” (Compl. ¶ 83.) “Medical patients’ privacy interests . . . include

                   24   descriptions of symptoms, family history, diagnoses, test results, and other intimate details

                   25   concerning treatment,” but Plaintiff alleges none of these, nor any interests in information

                   26   equivalently private. St. Aubin, 2024 WL 4369675, at *12. As explained above with respect to

                   27   Plaintiff’s Section 632 claim, a close read of Plaintiff’s specific allegations reveals that the

                   28   challenged information is neither particularly sensitive nor private, and is generic, limited to a
COOLEY LLP
ATTORNEYS AT LAW
                                                                                        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                            19                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13       Filed 10/25/24       Page 27 of 32



                    1   consumer’s interest in “see[ing] if [they] qualify” to attempt “[w]eight loss with GLP-1

                    2   Medication,” gender, selections from a set of vague pre-defined “weight loss goals,” and the fact

                    3   of a payment on ReflexMD’s website (see Compl. ¶¶ 40, 43).              Indeed, Plaintiff’s specific

                    4   allegations establish that LinkedIn does not even receive information showing that a consumer

                    5   actually purchased Semaglutide, but only that they made some payment on ReflexMD’s website.

                    6   Such vague and generic information is a far cry from the extremely sensitive medical information

                    7   California courts have found sufficient to ground an informational privacy interest under the

                    8   California Constitution. See, e.g., Pettus v. Cole, 49 Cal. App. 4th 402, 441 (1996) (finding reports

                    9   disclosing a patient’s private anxieties about his rash medication together with his sleep patterns,

                   10   sex drive, hostile feelings toward coworkers, suicidal ideation, smoking and drinking habits,

                   11   comprehensive social history, and highly emotional behaviors as reported by physicians to be “the

                   12   type of ‘sensitive personal information’ the California voters had in mind”) (emphasis added).

                   13                          c.      Plaintiff Fails to Allege an Autonomy Privacy Interest.
                   14          California courts have recognized an autonomy privacy interest only “in cases alleging

                   15   bodily autonomy,” that is, in cases implicating invasions into physical, bodily choices. Plaintiff’s

                   16   failure to plead any facts suggesting bodily autonomy is at issue forecloses this path. In re Google

                   17   Location History Litig., 428 F. Supp. 3d at 198 (emphasis in original) (collecting cases). Fact

                   18   patterns raising the issue of autonomy privacy involve physical, real-world invasions of privacy,

                   19   such as constraints on women’s decisions about bearing children or mandatory drug testing through

                   20   forced urine samples.       Comm. to Def. Reprod. Rights v. Myers, 625 P.2d 779, 792 (Cal.

                   21   1981) (noting constitutional right of privacy in women’s “personal bodily autonomy”); Smith v.

                   22   Fresno Irrigation Dist., 84 Cal. Rptr. 2d 775, 785 (1999) (discussing autonomy privacy in the

                   23   context of drug testing through use of a urine sample). Courts have not found “cause to extend the

                   24   bodily autonomy line of cases to data autonomy.” In re Google Location Hist. Litig., 428 F. Supp.

                   25   3d at 198; In re Yahoo Mail Litig., 7 F. Supp. 3d at 1016, 1039 (N.D. Cal. 2014) (noting California

                   26   Courts’ limitation autonomy privacy to “cases alleging bodily autonomy”). While Plaintiff makes

                   27   vague assertions that she has “an interest in . . . making personal decisions and/or conducting

                   28   personal activities without observation,” (Compl. ¶ 83), she in fact alleges no physical intrusion
COOLEY LLP
ATTORNEYS AT LAW
                                                                                       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                           20                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24       Page 28 of 32



                    1   compromising her bodily autonomy and therefore alleges no autonomy privacy interest.

                    2                  2.      Plaintiff Fails to Allege a Reasonable Expectation of Privacy in Her
                                               Online Commercial Activity.
                    3
                               Plaintiff’s constitutional claim fails for the additional reason that her expectation of privacy
                    4
                        was not reasonable under the circumstances. In general, a “reasonable expectation of privacy is an
                    5
                        objective entitlement founded on broadly based and widely accepted community norms.” Hill, 7
                    6
                        Cal. 4th at 37. In cases challenging the data collection practices of corporate actors, courts consider
                    7
                        factors including “the amount of data collected, the sensitivity of data collected, the manner of data
                    8
                        collection, and the defendant’s representations to its customers.” Hammerling v. Google LLC, 615
                    9
                        F. Supp. 3d 1069, 1088 (N.D. Cal. 2022). As discussed above, here, the amount of data allegedly
                   10
                        collected was minimal, confined to particular interactions on a particular portion of a single website,
                   11
                        and Plaintiff inadequately alleges that such data were sensitive. Supra Sec. II.C.1.b; see, e.g.,
                   12
                        D’Angelo v. FCA US, LLC, 2024 WL 1625771, at *17 (S.D. Cal. Mar. 28, 2024) (“[C]ourts are
                   13
                        more reluctant to find a reasonable expectation of privacy when the data collected is not sensitive.”)
                   14
                               Plaintiff fails to allege a reasonable expectation of privacy because nothing in her pleading
                   15
                        demonstrates that expectation was reasonable under the circumstances. Plaintiff concedes that she
                   16
                        voluntarily visited ReflexMD’s website and transmitted unspecified information to Reflex MD, and
                   17
                        nowhere plausibly alleges that such transmissions should remain private from ReflexMD or its
                   18
                        agents. Virtually all consumer-facing websites track the conduct of web visitors. See, e.g., Thomas
                   19
                        v. Papa Johns Int’l, Inc., 2024 WL 2060140, at *3 (S.D. Cal. May 8, 2024) (noting that the
                   20
                        proliferation of litigation in this area “suggest[s] Defendant is not alone in this practice,” and
                   21
                        finding that this is “a factor to consider”). Generally speaking, “consumers do not have a reasonable
                   22
                        expectation of privacy over their activity” on public commercial websites, because we “understand
                   23
                        that what we do on the Internet is not completely private.” Id. at *2 (internal quotations omitted);
                   24
                        see D’Angelo v. Penny OpCo, LLC, 2023 WL 7006793, at *10-*11 (S.D. Cal. Oct. 24,
                   25
                        2023) (stating “accepted community norms around conversations [on] . . . a commercial website
                   26
                        for selling merchandise) point away from a reasonable expectation of privacy”); Saleh v. Nike, Inc.,
                   27
                        562 F. Supp. 3d 503, 524-25 (C.D. Cal. 2021) (no reasonable expectation of privacy on Nike
                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                            21                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD           Document 13        Filed 10/25/24       Page 29 of 32



                    1   website); Saeedy v. Microsoft Corp., 2023 WL 8828852, at *4 (W.D. Wash. Dec. 21, 2023) (stating

                    2   that, inter alia, “URLs of web pages visited, product preferences, interactions on a website, search

                    3   words typed into a search bar, user/device identifiers, anonymized data, product selections to a

                    4   shopping cart, and website browsing activities” are not the types of information in which plaintiffs

                    5   could have “a reasonable expectation of privacy”). Given that the challenged practices are nearly

                    6   universal on consumer-facing websites, no user can reasonably expect that the web pages she visits,

                    7   or the information she provides on such a website, are completely private.

                    8            Finally, Courts are similarly skeptical where “Plaintiffs do not allege that Defendant set out

                    9   an expectation that it would not collect” the challenged data. D’Angelo, 2023 WL 7006793, at *17.

                   10   Here, Plaintiff herself alleges that LinkedIn’s Privacy Policy clearly discloses that it “use[s] cookies

                   11   and similar technologies (e.g., pixels and ad tags) to collect data (e.g., device IDs) to recognize you

                   12   and your device(s) on, off and across different services and devices where you have engaged with

                   13   our Services,’” and “‘allow[s] some others to use cookies as described in our Cookie Policy.’”

                   14   Compl ¶ 31 (quoting Privacy Policy, Linkedin, https://www.linkedin.com/legal/privacy-policy

                   15   (Sept 18, 2024)). LinkedIn also explicitly tells users “[w]e receive information about your visits

                   16   and interaction with services provided by others when you visit others’ services that include some

                   17   of our ads, cookies or similar technologies.” (Reddy Decl. Ex. D, LinkedIn Privacy Policy at § 1.8.)

                   18   All the challenged data here falls under these two disclosures. Thus, because LinkedIn disclosed

                   19   precisely the data practices Plaintiff challenges, she fails to allege any reasonable expectation of

                   20   privacy. Hill, 7 Cal. 4th at 26; In re Yahoo Mail Litig., 7 F. Supp. 3d at 1037–38. 6

                   21                   3.      The Routine Commercial Behavior Alleged Is Not Highly Offensive as
                                                a Matter of Law.
                   22
                                 “Actionable invasions of privacy must be sufficiently serious in their nature, scope, and
                   23
                        actual or potential impact to constitute an egregious breach of the social norms underlying the
                   24

                   25   6
                            While Plaintiff alleges that she did not consent to purported interception, (Compl. ¶ 46),
                   26
                        “allegations that a plaintiff did not consent to data collection practices, without more, does not
                   27
                        support a reasonable expectation of privacy.” D’Angelo v. FCA US, LLC, 2024 WL 1625771, at
                   28
                        *17 (S.D. Cal. Mar. 28, 2024)
COOLEY LLP
ATTORNEYS AT LAW
                                                                                         DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                            22                   COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24      Page 30 of 32



                    1   privacy right.” Hill, 7 Cal. 4th at 37. To count as “highly offensive,” an intrusion must constitute

                    2   an “egregious breach of the social norms underlying the privacy right.” In re iPhone Application

                    3   Litig., 844 F. Supp. 2d 1040, 1063 (N.D. Cal. 2012) (quoting Hill, 7 Cal. 4th at 26, 37). This high

                    4   standard requires more than mere “disclosure of personal information,” Low, 900 F. Supp. 2d at

                    5   1025, and indeed, more than mere “private medical information.” Ojeda v. Kaiser Permanente

                    6   Int’l, Inc., 2022 WL 18228249, at *6 (C.D. Cal. Nov. 29, 2022) (disclosure of Covid vaccination

                    7   status, though politically fraught, was not highly offensive on facts alleged). Instead, courts

                    8   analyzing whether a plaintiff alleges a highly offensive intrusion undertake a holistic consideration

                    9   of “factors such as the likelihood of serious harm to the victim, the degree and setting of the

                   10   intrusion, [and] the intruder's motives and objectives[.]” See, e.g., Cousin v. Sharp Healthcare, 681

                   11   F. Supp. 3d 1117, 1126 (S.D. Cal. 2023); Hammerling, 2022 WL 17365255, at *8. And each of

                   12   these factors weighs in favor of dismissal with prejudice.

                   13          First, Plaintiff fails to plead any risk of “serious harm,” much less with the requisite

                   14   specificity as to, for example, “the form and extent of the distress and alienation suffered,” such as

                   15   being “singled out” for coworkers’ approbation. Ojeda, 2022 WL 18228249, at *7. Because

                   16   Plaintiff merely offers vague claims of unspecified “economic injury” and “breach of Plaintiff’s

                   17   privacy” (Compl. ¶¶ 6, 53), on the facts alleged—limited disclosure of information to a single

                   18   party—this Court should conclude that she cannot satisfy the pleading standard.

                   19          Second, though Plaintiff attempts to contort her facts to manufacture the appearance of a

                   20   medical setting (see, e.g., Compl. ¶ 7), her transactions more closely align with fact patterns in

                   21   cases involving purchases of health-related products—where courts have found no highly offensive

                   22   intrusion—rather than those involving paradigmatically private medical communications with

                   23   physicians. Compare, e.g., Hammerling, 2022 WL 17365255, at *9 (collection of information

                   24   revealing that the plaintiff shopped for, inter alia, a foot massager and women’s slippers, deals for

                   25   discounted anti-inflammatory meal subscriptions, and coconut oil not highly offensive) with, e.g.,

                   26   In re Meta Healthcare Pixel Litig., 713 F. Supp. 3d 650, 653 (N.D. Cal. 2024) (allegations that

                   27   Meta intercepted “the health conditions for which [plaintiffs] sought treatment or services, as well

                   28   as examples of their queries, appointment requests, or other information and services about which
COOLEY LLP
ATTORNEYS AT LAW
                                                                                       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                           23                  COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD           Document 13         Filed 10/25/24       Page 31 of 32



                    1   they communicated with their providers” sufficient to state a claim for invasion of privacy).

                    2   (emphasis added).      In R.C. v. Walgreen Co., the court distinguished “sensitive healthcare

                    3   products . . . related to specific health conditions (yeast infection and diabetes)” from “health-

                    4   related items less indicative of a medical condition,” like “daily vitamins, thermometers, or

                    5   toothpaste.” 2024 WL 2263395, at *9 (C.D. Cal. May 9, 2024). Here, Plaintiff’s allegations make

                    6   clear that Semaglutide is not a medication that treats a specific infection or illness. Instead, Plaintiff

                    7   alleges that it is a product used to help purchasers accomplish “goals” ranging from weight loss and

                    8   general health improvement to things like “[l]ooking better,” “[i]mprov[ing] confidence,” or

                    9   “[i]ncreas[ing] energy.” (Compl. ¶ 40.) The information LinkedIn allegedly received is, thus, no

                   10   more sensitive than the daily vitamin purchases found not highly offensive in Walgreen and is

                   11   clearly less sensitive than the Covid vaccination status found permissible in Ojeda. Indeed, because

                   12   Plaintiff never alleges that she went through the alleged survey, much less what answers she gave,

                   13   the Court cannot even attempt to evaluate if the disclosures about her were “highly offensive.”

                   14           Third,    Plaintiff    takes    her     generic    allegations     that    “LinkedIn      utilized

                   15   Plaintiff’s . . . information for its own purposes, including for targeted advertising” (Compl. ¶ 79),

                   16   to evidence some incriminating motive. But the Hammerling Court rejected this. Noting that “[t]he

                   17   provision of new, improved, and more personalized services is . . . largely indistinguishable from,

                   18   [defendant] Google's ‘commercial purposes,’” the Court was “unpersuaded that Plaintiffs’ alleged

                   19   motive for Google’s data collection—that ‘Google was using the data for its own purposes’—

                   20   alter[ed] this conclusion.” Hammerling, 2022 WL 17365255, at *9 n.13. Further, Plaintiff does

                   21   not plead any facts suggesting LinkedIn’s alleged receipt of her information was “intentional,

                   22   punitive, [or] reckless” rather than “inadvertent.” Ojeda, 2022 WL 17227249, at *7. And courts

                   23   have held that allegations of “accidental” conduct “of the kind that is inevitable when human beings

                   24   process large amounts of information” are “not necessarily sufficient to sustain a claim under article

                   25   I, § 1” of the California Constitution. Doe v. Beard, 63 F. Supp. 3d 1159, 1169 (C.D. Cal. 2014).

                   26           Instead of suggesting any culpable motive, this limited collection of purchase-related

                   27   information in the commercial setting alleged falls within the boundaries of “routine commercial

                   28   behavior,” which courts consistently find is not highly offensive. Fogelstrom v. Lamps Plus, Inc.,
COOLEY LLP
ATTORNEYS AT LAW
                                                                                          DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                             24                   COMPLAINT (CASE NO. 5:24-CV-06832)
                        Case 5:24-cv-06832-EJD          Document 13        Filed 10/25/24      Page 32 of 32



                    1   195 Cal. App. 4th 986, 992 (2011). LinkedIn’s Insight Tag is an example of a ubiquitous

                    2   commercial technology, and this Court should easily find that use of such technology is routine

                    3   commercial behavior rather than any highly offensive practice. Fogelstrom is highly instructive on

                    4   this point: There, as here, the challenged practice included alleged nonconsensual obtainment of

                    5   the plaintiff’s personal information, which was used to serve advertisements to him. Id. The court

                    6   in that case found that “the conduct of which plaintiff complains does not constitute a ‘serious’

                    7   invasion of privacy.” Id. Similarly, in Yunker v. Pandora Media, Inc., the court found allegations

                    8   that defendant “Pandora obtained the plaintiff’s PII and provided that information to advertising

                    9   libraries for marketing purposes” to be “similar to the allegations in . . . Fogelstrom.” 2013 WL

                   10   1282980, at *15 (N.D. Cal. Mar. 26, 2013) (finding plaintiff’s allegations insufficient to show

                   11   highly offensive conduct). This Court should reach the same conclusion.

                   12          Courts find allegations of a highly offensive intrusion sufficient only where there are far

                   13   more extreme, pervasive intrusions than limited collection of generic consumer selections on

                   14   certain pages of a single website. See, e.g., Goodman v. HTC America, Inc., 2012 WL 2412070,

                   15   *15 (W.D. Wash. June 26, 2012) (finding allegations “that Defendants engaged in the continuous

                   16   tracking of their location and movements” plausibly highly offensive because “GPS monitoring

                   17   generates a precise, comprehensive record . . . that reflects a wealth of detail about . . . familial,

                   18   political, professional, religious, and sexual associations”); In re Google Location History Litig.

                   19   514 F. Supp. 3d 1147, 1158 (N.D. Cal. 2021) (same where plaintiffs did not “allege that Google

                   20   only collected information at discrete, intuitive times, but rather, they specifically allege that

                   21   Google collected location information constantly”). Such facts are worlds away from this case.

                   22   IV.    CONCLUSION
                   23          For the foregoing reasons, Plaintiff’s CIPA and California constitutional invasion of privacy

                   24   claims should be dismissed with prejudice.

                   25
                        Dated: October 25, 2024                            COOLEY LLP
                   26                                                      By: /s Jeffrey M. Gutkin
                                                                           Jeffrey M. Gutkin
                   27                                                      Attorney for Defendant
                                                                           LINKEDIN CORPORATION
                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
 SAN FRANCISCO                                                           25                  COMPLAINT (CASE NO. 5:24-CV-06832)
